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 9
                                     UNITED STATES DISTRICT COURT
10
                                            DISTRICT OF NEVADA
11

12   UNITED STATES OF AMERICA,                                   CASE NO. 2:12-cr-00400-JAD-GWF

13                    Plaintiff,
      vs.                                                        STIPULATION TO CONTINUE
14
                                                                 HEARING REGARDING ALLEGED
15   TERRY J. WOLFE, et al.,                                     VIOLATION OF CONDITIONS OF
                                                                 SUPERVISION
16                    Defendants.
                                                                 (First Request)
17

18            IT IS HEREBY STIPULATED AND AGREED, by and between Steven W. Myhre, Assistant
19   United States Attorney, counsel for Plaintiff, and Kevin R. Stolworthy, counsel for Defendant,
20   Terry J. Wolfe (“Defendant”), that the hearing currently scheduled for August 10, 2015 at the hour of
21   10:00 a.m., be continued for two (2) weeks, or to a date and time thereafter that is convenient to this
22   Court.
23            This Stipulation is entered into for the following reasons:
24            1.     On February 29, 2015, the Defendant was sentenced to time served in this matter.
25            2.     The Defendant is currently subject to a three (3) year term of supervised release.
26            3.     On August 3, 2015, this Court issued a Summons requiring the Defendant to appear in
27   Court on August 10, 2015 for a hearing addressing an alleged violation of the conditions of
28   supervised release.
                                                          1
         Case
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 1          4.      Undersigned counsel will be traveling outside of the State of Nevada during the weeks
 2   of August 10th and 17th.
 3          5.      Accordingly, the parties agree that the August 10th hearing should be continued for a
 4   period of two (2) weeks, but no earlier than August 24, 2015, or to a date and time thereafter that is
 5   convenient for the Court.
 6          6.      This is the first request to continue the hearing on the alleged violation of conditions
 7   of supervised release.
 8          DATED this 4th day of August, 2015.
 9
   DANIEL BOGDEN                                           ARMSTRONG TEASDALE LLP
10 United States of America

11

12 By:/s/Steven W. Myhre                                   By:/s/Kevin R. Stolworthy
       STEVEN W. MYHRE, ESQ.                                  KEVIN R. STOLWORTHY, ESQ.
13     Assistant U.S. Attorney                                3770 Howard Hughes Parkway, Suite 200
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       Las Vegas, NV 89101
15                                                            Counsel for Defendant
       Counsel for Plaintiff                                  Terry J. Wolfe
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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                                 CASE NO. 2:12-cr-00400-JAD-GWF
 4
                     Plaintiff,
 5    vs.                                                      FINDINGS OF FACT,
                                                               CONCLUSIONS OF LAW, AND
 6   TERRY J. WOLFE, et al.,                                   ORDER
 7                   Defendants.
 8

 9                        FINDINGS OF FACT AND CONCLUSIONS OF LAW
10           Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
11   finds that:
12           1.     The hearing on the alleged violation of supervised release should be continued for a
13                  period of least two (2) weeks, and no earlier than August 24, 2015.
14           2.     The Defendant is not in custody and does not object to the continuance in this matter.
15           5.     The parties agree to the continuance.
16           6.     This is the first request to continue the August 10, 2015 hearing. For all of the above-
17   stated reasons, the ends of justice would best be served by a continuance of the hearing.
18                                                  ORDER
19           IT IS HEREBY ORDERED that the hearing currently scheduled for August 10, 2015 at the
20   hour of 10:00 a.m., shall be continued to Monday,
                                               ______________________,  2015,
                                                       August 31, 2015, at     at a.m.
                                                                           10:00   the hour of
21   ________________________ _______.m.
22

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24                                                       UNITED STATES DISTRICT JUDGE

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